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     JOHN R. MANNING (SBN 220874)
 1   ATTORNEY AT LAW
 2
     1111 H Street, # 204
     Sacramento, CA. 95814
 3   (916) 444-3994
     Fax (916) 447-0931
 4

 5
     Attorney for Defendant
     VI A. LE
 6
                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                        )       No. CR. S-10-443 TLN
 9
                                                      )
                                                      )
10           Plaintiff,                               )       STIPULATION REGARDING
                                                      )       EXCLUDABLE TIME PERIODS
11
     v.                                               )       UNDER SPEEDY TRIAL ACT;
                                                      )       FINDINGS AND ORDER
12
     VI A. LE,                                        )
                                                      )       Date: April 3, 2014
13
                                                      )       Time: 9:30 a.m.
             Defendant.                               )       Judge: Honorable Troy L. Nunley
14
                                                      )
                                                      )
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                                                      )
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17
             The United States of America through its undersigned counsel, Christiaan Highsmith,
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19   Assistant United States Attorney, together with counsel for defendant Vi A. Le, John R.

20   Manning, Esq., hereby stipulate the following:
21
          1. By previous order, this matter was set for status conference on March 6, 2014.
22
          2. By this stipulation, defendants now move to continue the status conference until April 3,
23

24
     2014 and to exclude time between March 6, 2014 and April 3, 2014 under the Local Code T-4

25   (to allow defense counsel time to prepare).
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          3. The parties agree and stipulate, and request the Court find the following:
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     a. Counsel for the defendant needs additional time to meet with the defendant (with
 1

 2      interpreter) in order to complete their review of the discovery; investigation reports,

 3      discussion and analysis of relevant USSG calculations; and, review the plea
 4
        agreement.
 5
     b. This case includes 526 pages of discovery as well as one disc of video.
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 7
     c. The defendant requires the services of a Cantonese interpreter in order to

 8      communicate effectively with counsel.
 9   d. This case is one of a series of cases evolving from a lengthy DEA/Elk Grove PD/Sac
10
        SO investigation into widespread use of vacant home in the Elk Grove area (and Bay
11
        Area) as "grow houses." Many, if not all, of the defendants (and witnesses) in this
12

13      series of cases speak Cantonese (or another dialect) requiring the use of an interpreter.

14      As indicated, this case is part of a much larger operation focusing on indoor grows in
15
        South Sacramento and Elk Grove. It has been remarkably productive – resulting in
16
        the seizure of thousands of plants, numerous search warrants, and the arrest of several
17
        dozen defendants (the vast majority of whom speak Cantonese, Vietnamese,
18

19      Mandarin, or Hakka). Co-coordinating meeting between the Parties has proved

20      challenging.
21
     e. The government has provided the defense with a draft plea agreement. Additional
22
        time is necessary to: meet with the defendant (and the interpreter) to review the
23
        proposed agreement; discuss statutory and USSG implications associated with the
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25      agreement; discuss consequences associated with a guilty plea (or verdict); discuss

26      possible defenses; discuss trial scenarios; and, options going forward.
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              f. Counsel for defendant believes the failure to grant a continuance in this case would
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 2                deny defense counsel reasonable time necessary for effective preparation, taking into

 3                account the exercise of due diligence.
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              g. The Government does not object to the continuance.
 5
              h. Based on the above-stated findings, the ends of justice served by granting the
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 7
                  requested continuance outweigh the best interests of the public and the defendant in a

 8                speedy trial within the original date prescribed by the Speedy Trial Act.
 9            i. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
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                  Section 3161(h)(7)(A) and (B)(iv) within which trial must commence, the time period
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                  of March 6, 2014 to April 3, 2014, inclusive, is deemed excludable pursuant to 18
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13                United States Code Section 3161(h)(7)(A) and (B)(iv) corresponding to Local Code

14                T-4 because it results from a continuance granted by the Court at defendant’s request
15
                  on the basis of the Court’s finding that the ends of justice served by taking such
16
                  action outweigh the best interest of the public and the defendant in a speedy trial.
17
           4. Nothing in this stipulation and order shall preclude a finding that other provisions of the
18

19            Speedy Trial Act dictate that additional time periods are excludable from the period

20            within which a trial must commence.
21
     IT IS SO STIPULATED.
22
     Dated: March 3, 2014                                           /s/ John R. Manning
23                                                                  JOHN R. MANNING
                                                                    Attorney for Defendant
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                                                                    Vi A. Le
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26   ///
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     ///
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 1
     Dated: March 3, 2014                              Benjamin B. Wagner
 2                                                     United States Attorney

 3                                                     by:/s/Christiaan Highsmith
                                                       CHRISTIAAN HIGHSMITH
 4
                                                       Assistant U.S. Attorney
 5

 6
                                         ORDER
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 8   IT IS SO FOUND AND ORDERED this 4th day of March, 2014.

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13                                       Troy L. Nunley
                                         United States District Judge
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